     Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 1 of 12




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
MARGARET COX                             )
6522 Lake Park Drive                     )
Greenbelt, MD 20770                      )
                               Plaintiff )
                    v.                   )
                                           Civil Action No:
                                         )
DISTRICT OF COLUMBIA                     )
PUBLIC EMPLOYEE RELATIONS )
BOARD                                    )
1100 4th Street SW                       )
Suite E630                               )
Washington, D.C. 20024                   )
                                         )
                   And                   )
                                         )
CLARENE MARTIN, in her personal )
capacity,                                )
1100 4th Street SW                       )
Suite E630                               )
Washington, D.C. 20024                   )
                                         )
                            Defendants

       Now comes Plaintiff, Margaret Cox, by and through her undersigned lawyers, and

states as follows for her Complaint against Defendants, the D.C. Public Employee

Relations Board (PERB) and Clarene Martin (Martin).

       In summary, Defendants fired Plaintiff from her position with the PERB

immediately shortly after Plaintiff complained to Defendant Martin about Martin’s

hostile and discriminatory conduct targeted at Plaintiff because of her disability. The

termination violated the District of Columbia Human Rights Act.

                          I. JURISDICTION AND PARTIES

       1. This lawsuit is brought pursuant to the District of Columbia Human Rights

Act, D.C. Code § 2-1402.11 (Prohibiting Discrimination), D.C. Code § 2-1402.61

(prohibiting retaliation) and D.C. Code § 2-1403.16 (Private Cause of Action) as a result


                                             1
     Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 2 of 12




of Defendants’ termination of Plaintiff in retaliation for her complaint about

discrimination against her.

       2. This Court has jurisdiction under 28 U.S.C. 1332 because the amount in

controversy exceeds $75,000 and because Plaintiff is a citizen of Maryland suing an

agency of the District of Columbia (the PERB) and a citizen of the District of Columbia

(Defendant Martin).

       3. Plaintiff Margaret Cox is a resident of the State of Maryland. Ms. Cox was

the Director of the Public Employee Relations Board between 1986 and 1995. At the

time relevant to this lawsuit, Plaintiff was employed by the PERB, under a renewable

contract, as a part time Legal Administrative Specialist, working Tuesdays through

Thursdays.

       4. Defendant, the Public Employee Relations Board (PERB), is an impartial,

quasi-judicial, independent agency of the District of Columbia government, which

resolves labor-management disputes between agencies of the District government and

labor organizations representing agency employees.

       5. Defendant Clarene Martin is the Executive Director of the PERB. As

Executive Director, Ms. Martin is the principal administrative officer of the Board and

performs duties that include he investigation of all petitions, requests, complaints and

other matters referred or submitted to the Board. Ms. Martin was Plaintiff’s first level

supervisor, and she is responsible for the employment decisions at issue in this litigation.

       6. At all times relevant hereto, Defendant Clarene Martin was acting within the

scope of her authority as Director of the PERB, such the PERB is liable for Director

Martin’s activities and conduct toward the Plaintiff.




                                             2
      Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 3 of 12




                                 II. PERTINENT FACTS

A. Plaintiff was a Qualified Person with a Disability and was Perceived as Disabled.

       7. At all times relevant to this suit, Plaintiff was a qualified person with a

disability for the purposes of the D.C. Human Rights Act. She suffered a physical

ailment – specifically chronic hip pain due to avascular necrosis and osteoarthritis. The

chronic hip pain limited Plaintiff’s ability to perform a major life function, specifically

walking. Plaintiff’s disability caused her to limp, and/or required to use a cane, crutches

or assistance when walking, or to be unable to walk for periods of time. Ultimately the

disability required her to undergo surgeries, including surgery to replace her left hip. The

disability continued beyond the dates of surgery. Indeed, until approximately early May

2016, Plaintiff regularly relied on the use of a cane to walk, and Plaintiff continues

physical therapy approximately twice per week.

       8.   Plaintiff’s disability did not, with or without reasonable accommodation, limit

her ability to perform the essential functions of the Plaintiff’s position.

       9. Defendants viewed Plaintiff as a qualified individual with a disability. To wit,

and as explained below, Plaintiff asked for accommodations, in the form of the ability to

work from home and to be assigned an office, rather than be required to work out of a

conference room. Additionally, Director Martin referred to Plaintiff as “crip” or

“crippled” on several occasions and suggested that she use “Metro Access” for her

commute to work, rather than work from home.

       10. Plaintiff was diagnosed with avascular necrosis with osteoporosis in her left

hip, in late 2013. Plaintiff had already had a full hip replacement of the right hip due to

the same condition in 2007.




                                               3
      Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 4 of 12




        11. As a result of her condition, Plaintiff first experienced chronic hip pain, in her

left hip, which caused her to rely on the use of a cane in early 2014. The pain level

became acute and debilitating in October or November 2014.

        12. Plaintiff attempted to manage the hip pain conservatively, with physical

therapy through the late summer of 2014.

        13. During the 2014 timeframe, walking even two blocks would cause

excruciating pain – even with the use of a cane. Plaintiff also had difficulty climbing

stairs, etc.

        14. As of the fall of 2014 Plaintiff’s pain became unbearable. She was not able to

walk any distance without pain or the use of a cane or someone to help her. Plaintiff and

her doctor realized that the conservative approach was not working and that surgery

would be required.

        15. Plaintiff’s first surgery, which was meant to increase blood flow to her left

hip, in the hope of avoiding a full hip replacement, occurred in December 2014.

Following the first surgery, which was an inpatient procedure, Plaintiff was out of work

for approximately 4 days.

        16. Any improvement from the surgery was negated after Plaintiff fell on ice

within a few months after the surgery.

        17. On at least one occasion during this period, Plaintiff’s co-workers had to

physically assist her getting to her car, and Defendant Martin witnessed the event.

        18. Plaintiff underwent a full hip replacement surgery on May 5, 2015.

        19. Between the first and second surgeries, Plaintiff was unable to walk without a

cane or assistance, and even then, she could only walk very short distances.




                                              4
      Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 5 of 12




        20. Even after the surgery, Plaintiff required the use of a cane if she was going to

walk more than two blocks. Although on some rare occasions she felt well enough to

walk those distances without assistance.

B. Plaintiff’s Employment with the PERB

        21. Ms. Cox’s principle duties involved advising the Board and Executive

Director on policy and operations issues, reviewing and editing draft orders decisions and

other memoranda, participating in mediations, drafting proposed rules and assisting

PERB staff attorneys in investigations involving impasse proceedings, unfair labor

practice complaints and representation petitions.

        22. Plaintiff was initially free to work from home whenever she wished, without

prior approval, Plaintiff’s preference was to work at the PERB office as much as possible

to have the opportunity to work directly with the Director and staff attorneys.

        23. Over the course of her employment with the PERB, Defendant Martin began

expecting Plaintiff to work from the office, rather than teleworking from home, because

of the degree to which Defendant Martin relied on Plaintiff.

        24. Based on statements, including by Board members, the integral nature of

Plaintiff’s work to the functioning of the PERB, and the long-term nature of the projects

that Defendant Martin assigned to her, Plaintiff expected that her contract would be

renewed in future years.

        25. In approximately April 2015, Ms. Martin confirmed that she had funding in

the budget to continue employing Plaintiff through at least the end of the fiscal year

(September 30, 2015), and Director Martin told Plaintiff that she would extend her

contract until that date.




                                             5
     Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 6 of 12




C. Discriminatory Treatment and Hostile Work Environment Based on Disability

       26. Plaintiff’s doctor advised her to undergo physical therapy and wrote a note to

the Defendant indicating that Plaintiff would need to work from home for a period of

time until her recovery was well under way.

       27. When Defendant Martin saw the note she tossed it back at Plaintiff and said “I

don’t need that.”

       28. While Plaintiffs was on leave, associated with the first surgery in December

2014-January 2015, Defendants moved Plaintiff from her office which was located close

to the attorneys whom she worked with to a smaller office, across the hall, without telling

Plaintiff or permitting her to pack her personal belongings.

       29. While Plaintiff was out on leave for a second surgery, in late May 2015,

Defendants moved Plaintiff out of her (second) designated office and relocated her to a

temporary conference room which was actually the PERB hearing room. To meet with

the attorneys with whom she worked, it took her between five and ten minutes to walk,

which caused her significant pain. Among other things, because the conference room was

the hearing room, whenever a hearing was taking place, Plaintiff would have to find

another place to work. The conference room did not have a comfortable office chair, and

Plaintiff did not even have a telephone. Nor was there any place to store Plaintiff’s

personal effects. The room was kept so cold that it added to Plaintiff’s pain, stiffness and

general discomfort.

       30. While she was still on leave recuperating from the second surgery, after

Plaintiff learned that she had been removed from her designated office and moved to the

conference room, Plaintiff asked Director Martin for an accommodation – specifically to




                                              6
      Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 7 of 12




be permitted to work from home (with the exception of the monthly Board meeting)

during her post-surgery rehabilitation. Plaintiff also asked to make sure that she had a

comfortable place to work when she returned. Director Martin rejected Plaintiff’s request

and became very upset with Plaintiff after receiving the request for an accommodation.

        31. Following her return to work following her second surgery, in June 2015,

Defendant Martin continued to make frequent demeaning and hurtful comments to

Plaintiff about her disability, including regularly referring her as “Crip” as she navigated

the office, in pain.

        32. On one occasion, Defendant asked Plaintiff to retrieve a reference book.

When Plaintiff showed that the effort of standing and walking toward the book caused

her extreme pain, Defendant Martin said “forget it crip, I’ll get the book.”

        33. On another occasion, when Plaintiff asked Defendant Martin for approval to

work from home, under the Defendants’ telework policy, Defendant Martin rejected the

request (without providing any reason) and told Plaintiff that she should use “Metro

Access.” According to the Washington Metropolitan Area Transit Authority (WMATA),

Metro Access is “a shared-ride, door-to-door, paratransit service for people whose

disability prevents them from using bus or rail.”

        34. On another occasion, Plaintiff asked the receptionist for coffee. Defendant

Martin yelled at the receptionist, telling her not to do things that the attorneys could do

for themselves. Later Defendant Martin told Plaintiff that she should not have yelled at

the receptionist for helping Plaintiff because Plaintiff was “old and crippled,” and then

laughed riotously.

D. Protected Activity and Termination




                                              7
        Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 8 of 12




         35. In June 2015, Plaintiff sent Director Martin an email explaining that she was

unable to travel away from her home (including using Metro Access to commute to work)

due to the risk of infection to her stitches, which had not yet fully healed. In this e-mail

Plaintiff asked that Defendant Martin cease the discriminatory and hostile conduct that

was targeted against her because of her physical disability.

         36. Shortly after Plaintiff sent the above-referenced email, Defendant Martin sent

Plaintiff a letter stating that she was being terminated effective June 30, 2015, which was

one month prior to the natural renewal date and several months before the end of the

contract extension.

         37. Also in June 2015 – after Plaintiff sent the above-referenced email to

Defendant Martin – Plaintiff contacted the PERB Chairperson, Charles Murphy, to advise

him about Defendant Martin’s discriminatory and hostile treatment of her. Chairperson

Murphy responded that he had received several complaints about Defendant Martin.

         38. Plaintiff’s termination from her position at the PERB became effective on

June 30, 2015.

         39. Director Martin’s stated reason for terminating Plaintiff was that there was

insufficient funding in the budget to continue employing contract. This reason was false,

and a pretext for discrimination and retaliation.

               COUNT I: DISCRIMINATION BASED ON DISABILITY

         40. Plaintiff restates each of the foregoing paragraphs as if they were restated

here.




                                               8
      Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 9 of 12




       41. At all times relevant to this Complaint, Plaintiff was a qualified individual

with a disability, under the D.C. Human Rights Act. In the alternative, Defendants

regarded Plaintiff as having a disability.

       42. Plaintiff requested a reasonable accommodation from Defendants, which

Defendants rejected for no valid reason and without engaging in the collaborative process

to find a reasonable accommodation that worked.

       43. Shortly after Plaintiff requested an accommodation, Defendants terminated

her because of her disability.

       44. As a result of the denial of accommodation and termination, Plaintiff

experienced significant emotional pain and suffering, including depression and anxiety

accompanied by fatigue and weight loss.

       45. As a result of the denial of accommodation and termination, Plaintiff

experienced financial harm, including loss of income and loss of future income.

       46. Defendants’ conduct toward Plaintiff, including the decision to reject her

request for accommodation and to terminate her because of her disability, was malicious

and/or in reckless disregard for the Plaintiff’s rights under the D.C. Human Rights Act.

Consequently Plaintiff is entitled to punitive damages.

       47. At all times relevant hereto, Defendant Clarene Martin was acting within the

scope of her authority as Director of the PERB. As a result, the PERB is liable for

Defendant Martin’s activities and conduct toward the Plaintiff and is vicariously liable to

the Plaintiff for punitive damages.

        COUNT II: HOSTILE ENVIRONMENT BASED ON DISABILITY




                                             9
        Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 10 of 12




         48. Plaintiff restates each of the foregoing paragraphs as if they were restated

here.

         49. At all times relevant to this Complaint, Plaintiff was a qualified individual

with a disability, under the D.C. Human Rights Act. In the alternative, Defendants

regarded Plaintiff as having a disability.

         50. Defendants created a hostile work environment against the Plaintiff because of

her disability by, among other things: (1) removing her to an office that required her to

walk longer distances in order to attend meetings or confer with colleagues and the

director; (2) boxing up her office while she was recuperating from surgery and moving

her into a conference room, that was kept uncomfortably cold and that was not outfitted

with a personal desk or office chair; (3) refusing her request to work from home; (4)

instructing Plaintiff to take Metro Access to get to and from the Metro for her daily

commute; (5) referring to her in public and private as “Crip” and “cripple” on several

occasions; (6) and threatening to terminate Plaintiff; and (7) terminating Plaintiff.

         51. As a result of the hostile working environment, Plaintiff experienced

significant emotional pain and suffering, including depression and anxiety accompanied

by fatigue and severe eating disorders and weight loss.

         52. Defendants’ conduct toward Plaintiff, including the imposition of a hostile

work environment against her because of her disability, was malicious and/or in reckless

disregard for the Plaintiff’s rights under the D.C. Human Rights Act. Consequently

Plaintiff is entitled to punitive damages.

         53. At all times relevant hereto, Defendant Clarene Martin was acting within the

scope of her authority as Director of the PERB, such that the PERB is liable for




                                              10
        Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 11 of 12




Defendant Martin’s activities and conduct toward the Plaintiff and is vicariously liable to

the Plaintiff for punitive damages.

                               COUNT III: RETALIATION

         54. Plaintiff restates each of the foregoing paragraphs as if they were restated

here.

         55. At all times relevant to this Complaint, Plaintiff was a qualified individual

with a disability, under the D.C. Human Rights Act. In the alternative, Defendants

regarded Plaintiff as having a disability.

         56. Plaintiff engaged in protected activity by (1) requesting a reasonable

accommodation from Defendants, and (2) complaining to Defendant Martin and

Chairperson Murphy, in June 2015, about the discriminatory conduct and hostile

environment to which she had been subjected. Shortly after Plaintiff sent her email

complaining about discrimination to the Director, Director Martin terminated Plaintiff in

retaliation for her protected complaint.

         57. As a result of the termination, Plaintiff experienced significant emotional pain

and suffering, including depression and anxiety accompanied by fatigue and weight loss.

         58. As a result of the termination, Plaintiff experienced financial harm, including

loss of income and loss of future income.

         59. Defendants’ conduct toward Plaintiff, including the decision to terminate her

because of retaliation, was malicious and/or in reckless disregard for the Plaintiff’s rights

under the D.C. Human Rights Act. Consequently Plaintiff is entitled to punitive damages.

         60. At all times relevant hereto, Defendant Clarene Martin was acting within the

scope of her authority as Director of the PERB, such that the PERB is liable for Director




                                              11
     Case 1:16-cv-00905-CRC Document 1 Filed 05/12/16 Page 12 of 12




Martin’s activities and conduct toward the Plaintiff and is vicariously liable to the

Plaintiff for punitive damages.

                                   RELIEF REQUESTED

          61.     WHEREFORE, Plaintiff prays that this Court:

          62. Declare that the employment practices complained of in this Complaint are

unlawful in that they violate the District of Columbia Human Rights Act;

          63. Order the Defendants to make the Plaintiff whole by paying Plaintiff: (1)

monetary damages for lost income at a rate of approximately $100,000 per year, as

proved at trial; (2) compensatory damages in an amount to be determined at trial; and (3)

punitive damages to be determined at trial;

          64. Order the Defendant to pay the Plaintiff’s attorneys fees and other costs of

litigation; and

          65. Grant such other and further relief to the Plaintiff as the Court deems just and

proper.

                       PLAINTIFF DEMANDS A TRIAL BY JURY
                                         Respectfully Submitted,




                                         Leslie D. Alderman III (DC Bar No. 477750)
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                                               12
